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             RESPONSE TO NFL'S APPEAL OF SPECIAL MASTER RULING

         JR Wyatt Law submits this response in support of (a) the Special Master's December
4, 2017 Ruling, (b) Co-Lead Class Counsel Seeger Weiss' application, and (c) Dan Cody's
request that his 2006 season be considered an Eligible Season, as that term is defined in the
Settlement Agreement. 1


A. Let's Draw On The Right Side Of The Line

         The NFL's argument that eliminating Dan Cody's right to a recovery is 'fair line
drawing' is belied by his, and many other players' reality.


         Dan Cody is a 34 year old diagnosed with dementia. He is currently institutionalized
in California for concussion related disabilities, leaving his wife of I 0 years to manage their
home and children, ages 3, 6 and 8.


         Dan played 3 seasons in the NFL; however, none of these seasons is currently
considered an Eligible Season, effectively depriving him of an award.                            The only season
relevant to this application is Dan's 2006 season.


         In 2006, Dan played in 2 games. For an additional 12 games, Dan practiced for the
entire week, but was deactivated a few hours before kick-off. Exhibit A. Despite not being
active to play in 12 games, Dan was physically present with the team on the date of each of
these games. Dan was eligible to play on the date of each ofthesc games (i.e., he was not on
JR, suspended or otherwise ineligible to play). Finally, Dan was under contract for the entire
2006 season. Exhibit B.


         While Dan is not eligible for one the larger awards, the NFL's 'fair line drawing'
would deny him any monetary award.                     Dan would not even be entitled to a baseline


         To the extent this response is publicly filed, JR Wyatt Law respectfully requests that it be redacted to
exclude client information.
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examination. Similar to Dan, many of the players effected by Special Master's Ruling are at
the bottom of the recovery spectrum. Many are also unrepresented. There is nothing fair
about drawing lines that deny men such as Dan Cody a substantive recovery under the
Settlement.


B. The Plain Meaning Of The Settlement Agreemellt Is Clear

        Dan was a member of the Ravens' roster on the date of 14 games in 2006 and each
game should count toward an Eligible Season. It is unclear what textual basis exists to
support the NFL's argument that a player must be active during a game. Specifically, the
Settlement Agreement in 2 places requires only that a player be active on the date of the
game:


               •   Section 2. l(kk) requires that Dan Cody be active "on the date of
                   three ... games" without reference to a requirement that he be
                   active/or the game.


               •   Section 2.l(a) requires a player to be active "on a pmiicular game
                   day" and again/ails to require that he be on the 45-Man Roster.


        The Special Master c01Tectly found that the NFL's interpretation of 'day' and 'date' is
inconsistent with how these words are generally used and as is provided in Section 2.1 of the
Settlement. See Date, Black's Law Dictionary (lO'h Ed. 2014)(defining 'date' as 'the day
when an event happened or will happen' ... for example active on game day); Settlement
Agreement §2.1 (defining "day' as a ·calendar day').

        The Special Master also argues compellingly that the NFL' s interpretation would
require splitting a given day into separate parts. Effectively, the NFL requests that the Court
split a day between pre-game and in-game periods to achieve its desired result. This type of
day-splitting is awkward, unwieldy and not favored by the law. See In re Puglisi, 230 F. 188,
189 (E.D. Pa. 1916); Garelick v. Rosen, 8 N.E.2d 279, 281(N.Y.1937) ("[l]n the absence of
an express limitation, the law does not take notice of a fraction of a day."); 2 WILLIAM
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BLACKSTONE, COMMENTARIES *141 ("In the space ofa day all the twenty-four hours
are usually reckoned; the law generally rejecting all fractions of a day, in order to avoid
disputes.").

       The NFL could have drafted the Settlement to narrowly define which roster or what
part of a day qualifies for the purposes of Section 2.1 (a) eligibility, for example:

               •   Section 2.1 (a): 'Active List' means all players physically present,
                   eligible and under contract to play for a Member Club ett-a
                   particular game day during a game within any applicable roster or
                   squad limits.

               •   Section 2.l(kk): 'Eligible Season' means a season in which a
                   Retired NFL Football Player ... was on a Member Club's Active
                   List OH the date during ef three (3) or more regular or post season
                   games."

The Agreement is simply not drafted this way; and clever construction arguments
notwithstanding, the NFL should not be allowed to re-write these Sections after-the-fact.


C. The Concussion Protocols And The Intersection Between Sections 2.l(a) And 2.l(kk)
   Of The Settleme11t

       The NFL's plain meanmg and construction arguments ignore its own concuss10n
protocols and how Sections 2.1 (a) and (kk) are intended to intersect.

       The Section 2.1 (a) definition of Active List includes players "present, eligible and
under contract to play for a Member Club on a particular game day".               A player under
concussion protocol is obviously and utterly ineligible to play in a game until cleared by
appropriate medical personnel. Because a player under concussion protocol is not eligible to
play, he is excluded from the Active List no matter what squad, roster or team he plays on.

       Denying a player game credit toward an Eligible Season because he is excluded from
the Active List due to a head injury would undermine the Settlement; accordingly, a savings
clause was drafted into Section 2. l(kk). While players on the Active List receive credit
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toward an Eligible Season, so do players who are inactive or on injured reserve due to a head
injwy:

            I. The first mechanism for a player to qualify for an Eligible Season is to
               be on the ''Active List on the date of three (3) or more reh'lllar season or
               postseason games."

                    ';.- A player under concussion protocol can't qualify under this
                         provision because he is ineligible to play in games; and thus,
                         excluded from the Active List.

            2. The second mechanism for a player to qualify for an Eligible Season is
               to be on the "Active List on the date of one ( 1) or more ... games and
               then spen[d] at least two .... games on a Member Club's injured
               resen•e list or inactive list due to a concussion or head injury."

                   ';.- Because of the clause due to a concussion or head injwy in
                        Section 2.1 (kk), a player with a head injury gains credit toward
                        an Eligible Season despite being excluded from the Active List
                        and being ineligible to play.

         This is the simple and clear interpretation of the relevant sections of the Agreement,
providing each word and clause meaning and effect.



D. Construction Does Not Support The NFL 's Requested Re-Write Of The Agreemellt

         The NFL 's construction arguments are strained, circular and unable to withstand
critical review.


No Part Of The Settlement Is Rendered Meaningless Bv The Special Master's Ruling


         The Special Master's Ruling does not render any part of the Settlement meaningless.
The Special Master determined situations exist where a player will only receive credit for a
game because his deactivation was due to a concussion or head injurv.
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        For example, the NFL admits in Parah>Taph l l of the Fiore Affidavit that players were
not always placed on the inactive list on game day:

                  "From l 993 through the 2000 NFL season, Member Clubs placed four
                  players on the Inactive List on the Friday of a game week and another
                  four players on the Inactive List on game day. For certain earlier NFL
                  seasons, such as from l 988 through 1992, Member Clubs places
                  players on the Inactive List on the business day prior to the game."

A player placed on the inactive list on the Friday before a game will not receive credit for
that week's game, unless deactivated because ala head injwy. Let's compare 2 situations
for clarity:

               1. It is week 1 of the 1999 season. Player A is placed on the inactive list
                  on the Friday before a Sunday game because of his poor play. As
                  provided in Section 2.1 (kk), Player A does not receive credit for the
                  week l game because he was deactivated before the date of the game.

                                                Versus

               2. It is week 1 of the 1999 season. Player B is placed on the inactive list
                  on the Friday before the Sunday game because of a head injury. Player
                  B does receive credit for the week I game. Under Section 2.1 (kk),
                  Player B only receives credit because he was deactivated due to a
                  concussion or head injwy.


        As the Special Master determined, a player can be placed on the injured reserve list in
the middle of the week. This player will not receive credit for the upcoming game unless he
was placed on the injured reserve due to a concussion or head injwy. Let's again compare 2
situations for clarity:

               I. It is week I of the 2010 season. Player C is placed on the injured
                  reserve list on the Friday before a Sunday game because of an ankle
                  injury. Player C does not receive credit for the week 1 game because
                  he was deactivated before the date of the game.

                                                 Versus

               2. It is week l of the 20 I 0 season. Player D is placed on the injured
                  reserve list on the Friday before the Sunday game because of a head
                  injury. Player D does receive credit for the week I game. Player D
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                 only receives credit because he was deactivated due to a concussion or
                 head injwy.


         As there are situations in which the clause: due to a concussion or head injwy is
given effect, the NFL's argument that this text requires the Court to change the plain
meaning of the Settlement is without foundation.

Inclusion o(The Word 'Eligible· Does Not Support The NFL 's Argument


         The NFL 's argument concerning the word eligible is a red herring. The use of the
word eligible has nothing to do with either the 53 or 45-man roster.

        A simple interpretation of eligible within Section 2.1 (a) excludes players from the
Active List that violated team/league rules and are suspended from play. 2

        Sections 17.11 and l 7.12 of the NFL Bylaws provide as follows:

        "Suspended Players

        17.11              A club or the Commissioner may suspend a player for violation
                           of this Constitution and Bylaws, his NFL Player Contract, or the
                           rules and regulations of the League or the club. During the
                           period of suspension, a player shall not be entitled to
                           compensation and shall be ineligible to play with any club.''

                                                          -and-

        "Ineligible Players

        17.12             The Commissioner may, on application of a club or on his own
                          motion, declare ineligible a player who violates his contract, is
                          guilty of conduct detrimental to the best interests of professional
                          football, or who violates this Constitution and Bylaws or the rules
                          and regulations of his club. Any ineligible player shall not be
                          entitled to play for any club in the League until he shall have
                          been reinstated by the Commissioner."




        There may well be many reasons a player might be ineligible to play on a given Sunday in addition to
being under concussion protocol or suspended from play.
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        Examples of reasons a player might be suspended include: a) betting on football; b)
drug violations; c) violent or illegal activities; d) violation of in-game rules; e) violation of
fairness rules; or f) violation of team rules.

       Let's compare 2 situations for clarity:

            I. Player E deflates footballs and the Commissioner suspends him for the
               next game. Player E is ineligible to play on the next 'game day within
               any applicable roster or squad limits," and will be excluded from the
               Active List. There is no reason to give Player E credit for this game as
               he can't play due to his own misconduct.

                                           Versus

           2. Player F has not violated any rules and an-ives at the game on Sunday
              ready to play. Regardless of whether he actually does play, Player F is
              eligible to play on that game day.


       Perhaps more to the point, the NFL's argument that eligible means eligible to play in
the game again requires that this Court re-write the text of the Settlement. There is no basis
to add language to an agreement, where, as here, there is a sensible reading that gives each
and every word in the agreement meaning.

Absurd/Unfair Result


       The NFL' s interpretation creates a substantial inconsistency within the Settlement.
Practice squad members - who don't play on game day - are eligible for Y2 seasons. Players
on the 53-man roster - who are more actively involved on a team and were exposed to more
head-related injuries then practice squad players - are denied any recovery by the NFL 's
interpretation.   An interpretation that is unfair on its face and creates such a blatant
inconsistency should not be countenanced.
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E. Co11clusio11

         As is provided in Co-Lead Class Counsel Seeger Weiss' application and the Special
Master's Ruling, and for the reason stated herein, Dan Cody respectfully requests that his
2006 season be considered an Eligible Season as that term is defined Settlement.


Dated:     New York, New York
           February 6, 2018
                                                 JR WYATT LAW, PLLC


                                                  ~v~
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            Exhibit ''A''
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                                                                                                                              EXHIBIT A
                                                                                                                                        Page l of I



iill Transactions

  Cody, Dan
   Position:                 OLB
   COlleg~:                  Oklahoma
   C:unent Club:

   Current Statui;:          Free Agent



Date           Stilrt Club    Result Club Potential Club Initial Status      Result StCttus    Description                              Commcnt5
8/2-6/2008         BLT                                    Waivers/No Rec:. Free Agent          Terrrdnated Vta Waivers, ali contracts              ill
8/27/2008          BLT             BLT                    Active             Waivers/No Rec. Waived, No Recall
2/11/2008          BLT             SL7                    R.IPUP             Active:           Activated, from Reserve
8]27/2007          6Ll             BLT                    Active/PUP         R/PUP             lleserve/Physlcal!y U:iab!e to Perform
7/30/2.007         BLT             BLT                    Acth;e             Actlve/PUP        Declared f'hyslcally Unable to Perform
2/5/2007           BLT             BLT                    R}lnjureu          Active            Ad.lvated, from Reserve
l2J19/2006         BLT             Bl'                    Inactive           R/lnjured         R.eserve/Injured
12/17/2006         BLT             BLT                    Active             Inactive          De-Activated
12/13/200&         BLT             BLT                    Inactive           Active            At±vated, from Inactive
12/10/2006         BLT             BLT                    Active             rnsctlve          De-Activated
12/6/2006          BLT             BLT                    Inactive           Active            Activated, from Inactive
ll/30/2006         BLT             BLT                    Active             Inactive          De-Activated
11115/2006         BLT             BLT                    Inactive           AcUve             Activated, from Jriacttve
ll/ll/2006         BLT             BLT                    Actlve             ll'lactlve        De-Activated
ll/B/2006          BLT             BLT                    Inactive           Active            Activatt!d, from Jnac!lve
11/5/2006          BLT             BLT                    Active             Inactive          De-Activated
11/1/2006          SLT             BLT                    Inactive           Active            Activated, from Inactive
10/29/2006         SLT             BLT                    Active             Inactive          De-Activated
10/16/2006         Bll             BLT                    lnactivC'          Active            Act!vated, from lnacttve
10/15/2006         BLT             BLl                    Active             lnbctive          De-Activated
10/11/2006         BLT             BLT                    Inactive           Active            Activated, from Inactive
10/9/2006          BLT             BLT                    Active             lnCKtlve          De-Activated
10/4/2006          BLT             BLT                    JnaLilve           Active            Activated, from I nactlve
10/ 1/2006         BLT             BLT                    Active             Inactive          De-Activated
9/27/2006          BLT             BLl                    I11active          Active            Activated, from Inactive
9/24/2006          BLT             8l7                    Active             Inactive          De·ActlvatE!ll
9/20/2006          BLT             BLT                    Inacti1Je          Active            Activated, from Inactive
9/17/2006          BLT             BLT                    Act:Jve            Inactive          De-Activated
9/13/2006          B:...T          BLT                    lnac:tive          Actwe             Activated, from Jnacllve
9/10/2006          6lT             Bn                     Active             Inactive          De- Activate<!
3/13/2006          BL1             BLT                    AcUve              Active            Option Exercised                                    III
2/14/2006          BLT             BLT                    >\/Injured         Active            Activated, from Reserve
S/30/2005          BLT             BLT                    Active             P./Injun~d        Reserve/fnjurec
8/1/2005           BLT             Bl"'."                 >!./Drft; Uns!~n   Active            Selettlon Ust Signhg                                IIJ
4(23/2005                          Bl1                                       R/Drft; U11sign   Reserve/Selection List                              [}




http://,w1w.nf1.org/MgmtCouncil/Management%20Council_24448/Pl_Transactions.asp?l ...                                                    112012015
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            Exhibit ''B''
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                                                                                                                Exhibit B




        STATE OF OKLAHOMA
                                                                                         : SS



                                                                    AFFIDAVIT OF SARAH CQDY

              I, Sarah Cody, being duly sworn according to the law, do hereby depose and say the following:


              L Dan <)idy is a fonnerNFL footba!Lplayer currently institutionalized for concussio11-related

                  conditions; Dill) played Jseaso~ in the NfL; 111.)weyer, n(lne of thl)se seas(lns is currently co11side~d
                    ,   ''   "-,   ,'   ,'   -:-   '   ,i   '       -"--_' --,,     '




                  an Ellgible $eason,etreetivdy deprivingli.im ofarl award. 'flle only season relevant to this challenge

                  is DanCodyls 2006 seasl.ln withlhe Ravens,
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             \3; ~e$pit111notbeing l!Ctive to playing .12 g11mes, Dan was phy5ically present With the tellm on the date
                 pf•¢#i:hofth1ise gll!lles,Dan was eligible to play Oil the date of l)ach of these g11mes (i.e., he was not

                 on l~, sllSpended or otherwise in!lligible t(l Jllay), Finally, Dan was. under contract for the entire
                 2Q0.6 sil\son.
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America that the foregoing is true and correct

Dated:\\·   \G·\1                           VtAMl~\            (~~>('
                                             lJ     Sarah Cody    .   0
                             Sworn and signed before me this
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